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           U.S. District Court for the District of Columbia



     Zachariah Mills (pro se)

     Plaintiff,                         Case Number (1:22-cv-01001)

     v.                                 C.K.K.

                                        JURY TRIAL DEMANDED
     American University, et al.

     Defendants.


                  Second Motion for Extension of Time to
                   Serve Summons on Three Defendants

      In the Court’s July 25, 2022, Rule 4(m) Order, ECF 10, the Court

instructed us to serve Defendants and file proofs of service by August

23, 2022. We have served the Court-issued summons on thirteen

Defendants in a timely manner. Proofs of the thirteen services are

attached. Ex. 1-3.


      Three Defendants remain.


      We are serving Defendant Christine Chin and Defendant Aw via

Certified Mail. Based on the USPS Tracking, the mail parcels are

delayed, which is outside of our control. Ex. 1 ¶¶ 8 – 16, 4, 5. Upon

noticing the delay, we employed a private process server to attempt

personal service at a high-confidence residential address. It appeared

that they were not home. Ex. 6. We will resend the mail parcels and

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